Case 2:05-Cr-20075-BBD Document 72 Filed 09/02/05 Page 1 of 2 Page|D 81

 

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IN THE UNITED s'rA'rEs DISTRICT CoURT ' -
FoR THE wEs'rERN DISTRIcT oF TENNESSEE 05
wEsTERN DIvIsIoN SEP "2 PH 53 25
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UNITED STATES OF AMERICA
Plaintiff,
vs. cR. No. 05-20066-0; 05-20071”D
05-20075-DT’05-20076-D
RITA wILLIAMSON 05-20077-D
Defendant.

 

onDER oN cHANGE oF PLEA
AND SETTING

 

This Cause came to be heard on September 2, 2005, the United States
Attorney' for this district, Timothy R. DiScenza, appearing for the
Government and the defendant, Rita Williamsonr appearing in person and with
counsel, Edwin A. Perry, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count 1 of the Indictment
05-20066, Count l of the Indictment 05-20075, and Count 1 of the Indictment
05-20076.

Remaining Counts in Indictments 05-20066, 05-20071, 05-20075, 05-
20076, and 05-20077 shall be dismissed at the Sentencing Hearing.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for FRIDAY, JANUARY 27, 2006, at
1230 P.M., in Courtroum No. 3, on the 9th floor before Jddge Barnice B.
Donald.

Defendant is allowed to remain released on present bond.

ENTERED this thejhgzé day of September, 2005.

 

ITED STATES DISTRICT JUDGE

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This notice confirms a copy of the document docketed as number 72 in
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EdWin A. Perry

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Honorable Bernice Donald
US DISTRICT COURT

